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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK


John McQuillin,

                             Plaintiff,
       - against -                                                    20-cv-2353

                                                                     COMPLAINT
Hartford Life and Accident Insurance
Company,

                             Defendant.




       The plaintiff, John McQuillin, by his attorneys, Law Offices of Jeffrey Delott, for

his Complaint against the defendant, Hartford Life and Accident Insurance Company

(“Hartford”), alleges as follows:


                                    NATURE OF ACTION
       1.     Plaintiff seeks to recover long term disability (“LTD”) benefits pursuant to
the terms and conditions of the Group Long Term Disability Plan for Employees of
Wright Medical Group (the “LTD Plan”).



                                          THE PARTIES
       2.     Plaintiff, who was born November 30, 1963, resides at 37 Prospect Street,
Glen Head, NY 11545, and worked for Wright Medical Technology Inc. (the “Employer”)
until February 17, 2019. The Employer sponsored the “LTD Plan,” and is the Plan
Administrator. Plaintiff was covered under the LTD Plan when he became disabled.
       3.     Hartford is licensed to conduct the business of insurance in the State of
New York, and is located at One Hartford Plaza, Hartford, CT 06155. Hartford not only
issued the insurance policy that is responsible for paying benefits under the LTD Plan,
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but also decides if claimants are entitled to benefits under it, which creates a financial
conflict of interest. The conflict of interest results in Hartford employing unwarranted
tactics to justify denying claims that should be paid under the LTD Plan.


                                  JURISDICTION & VENUE
            4.     Jurisdiction is based upon 29 U.S.C. §§ 1132(e)(1) and 1132(f), which
 give the District Courts jurisdiction to hear civil actions brought to recover benefits due
 under the terms of an employee welfare benefit plan, to enforce rights under the terms
of the plan, or to clarify rights to future benefits under the terms of the plan. In addition,
this action may be brought before this Court pursuant to 28 U.S.C. § 1331, which gives
the District Court jurisdiction over actions that arise under the laws of the United States.
       5.        Venue is proper in this district pursuant to 29 U.S.C. § 1132(e)(2), which
allows an action under Title I of Employee Retirement Income Security Act of 1974, 29
U.S.C. §§ 1001 et seq. (“ERISA”), to be brought in the district where the plan is
administered, where the breach took place, or where a defendant resides or may be
found. The breach took place in Glen Head, NY where Plaintiff was supposed to
receive the LTD benefits.


                                       THE LTD PLAN

       6.        The LTD Plan provides a monthly benefit for covered employees if they

show they remain disabled after a 180 day elimination period, by submitting proof of

loss. Plaintiff’s 180 day elimination period ended August 16, 2019.

       7.        Under the LTD Plan, proof of loss may include:

1) documentation of:
      a) the date Your Disability began;
      b) the cause of Your Disability;
      c) the prognosis of Your Disability;
      d) Your Pre-disability Earnings, Current Monthly Earnings or any income,


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       including but not limited to copies of Your filed and signed federal and state tax
       returns; and
       e) evidence that You are under the Regular Care of a Physician;
2) any and all medical information, including x-ray films and photocopies of medical
records, including histories, physical, mental or diagnostic examinations and treatment
notes;
3) the names and addresses of all:
       a) Physicians or other qualified medical professionals You have consulted;
       b) hospitals or other medical facilities in which You have been treated; and
       c) pharmacies which have filled Your prescriptions within the past three years;
4) Your signed authorization for Us to obtain and release:
       a) medical, employment and financial information; and
       b) any other information We may reasonably require;
5) disclosure of all information and documentation required by Us relating to Other
Income Benefits;
6) proof that You and Your dependents have applied for all Other Income Benefits
which are available; and
7) disclosure of all information and documentation required by Us in order to exercise
Our Subrogation or Reimbursement rights.

       8.        Defendant never claimed that Plaintiff failed to comply with submitting

proof of loss.

       9.        The LTD Plan provides a 60% monthly benefit for covered employees if

they show they remain disabled after the 180 day elimination period, by submitting proof

of loss.

       10.       The LTD Plan defines Disability or Disabled as meaning:

       You are prevented from performing one or more of the Essential Duties of:

1) Your Occupation during the Elimination Period;
2) Your Occupation, for the 2 year(s) following the Elimination Period, and as a result
Your Current Monthly Earnings are less than 80% of Your Indexed Pre-disability
Earnings; and
3) after that, Any Occupation for which You are gainfully employed.

The end of the 24 month period for Plaintiff is August 16, 2021. Thus, Plaintiff seeks

LTD benefits for being unable to perform one or more of the Essential Duties of his

Occupation.




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                               PLAINTIFF’S OCCUPATION

       11.    Plaintiff sold foot/ankle surgical equipment for the Employer. Among other

things, Plaintiff was required to be present to assist in the operating room during surgery

that used the foot/ankle equipment. Plaintiff’s annual salary was $100,000, which

means his income will be reduced by $40,000, because the LTD Plan only provides for

a 60% benefit. Common sense dictates that Plaintiff is not faking or exaggerating his

impairments in order to sustain such a large loss in his annual income. Stated

differently, Plaintiff would not misrepresent the severity of his medical condition in order

to defraud Hartford out of LTD benefits since it results in his losing nearly half of his

income.

       12.    Seventy percent of Plaintiff’s time at work was spent in the operating

room. Surgical procedures lasted from 30 minutes to seven hours. The remainder of

Plaintiff’s time was spent on the road, delivering surgical equipment and meeting with

prospective clients. Work hours were long and quite varied, often extending into the

evening and weekends. The occupation is complex, and requires being able to

multitask.

       13.    According to O*Net Code, Plaintiff’s occupation is Sales Representatives

Medical 41-4011-00.05. Surgical equipment medical sales representatives are typically

responsible for instructing the medical staff in the proper use of the equipment, which

requires that they are available to attend surgical procedures on a regular and

consistent basis. Additionally, they must be extremely detail orientated, reliable and

able to handle stressful and unpredictable situations. According to the Dictionary of




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occupational Titles, Plaintiff’s occupation was light, which requires lifting up to 20

pounds, and standing and walking 6 hours in an 8 hour work day.

       14.    According to Defendant, the material and substantial duties of Plaintiff’s

occupation were conducting regular sales calls, which required travelling throughout the

five boroughs of New York City, Long Island, and New Jersey, mastery of arthroplasty

procedure, and ability to work in the operating room.


                                 STANDARD OF REVIEW
       15.    Under ERISA, the default standard of review is de novo, and it applies
unless there is a clear grant of discretionary authority for the entity that determines
eligibility for benefits. Halo v. Yale Health Plan, 819 F.3d 42, 52 (2d Cir. 2016),
Firestone v. Bruch, 489 U.S. 101, 115 (1989).
       16.    The Employer, as the plan administrator, “bears the burden of proving that
the arbitrary and capricious standard of review applies, since ‘the party claiming
deferential review should prove the predicate that justifies it.’” Kinstler v. First Reliance
Standard Life Ins. Co., 181 F.3d 243, 249 (2d Cir.1999)
       17.    In CIGNA Corp. v. Amara, 563 U.S. 421 (2011), the Supreme Court ruled
that the policy, i.e., the contract between the insurance company and the policyholder,

is the relevant plan document to determine the plan terms and conditions. The first
reason why de novo review applies is that the policy Hartford issued to the Employer
does not contain any clear grant of discretionary authority.
       18.    The second reason why de novo review applies is that Hartford violated
29 C.F.R. § 2560.503-1. Hartford failed to render a decision on a timely basis; i.e.,
within 45 days, nor made a proper extension request. Halo, 819 F.3d at 58; McFarlane
v. First Unum, 274 F.Supp.3d 150, 155 (S.D.N.Y. 2017); Hughes v. Hartford, 368
F.Supp.3d 386, 394, 397-98 (D.Conn. 2019); McConnell v. American General, 2020 WL
292193, at *3 (S.D.Alab. 01/21/2020).


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       19.    Even if an arbitrary and capricious standard of review were to apply, the
procedural irregularities, due to Hartford’s conflict of interest, would weigh heavily
against it.


                           SHORT TERM DISABILITY (“STD”)
       20.    Hartford found Plaintiff was disabled under, and entitled to, New York
State statutory STD benefits until August 26, 2019, which was the maximum duration for
which those benefits were available.
       21.    Hartford never explained what changed, let alone improved, after Plaintiff
was found disabled and entitled to STD benefits under New York State law to justify
denying LTD benefits.
       22.    Hartford also found Plaintiff was disabled under, and entitled to, benefits
under the Employer’s STD Plan until August 26, 2019, which was also the maximum
duration for which those benefits were available.
       23.     After Hartford found Plaintiff was disabled and entitled to benefits under
the Employer’s and New York State’s STD Plans, on four separate occasions, including
August 22, 2019, Hartford never explained what changed, let alone improved, to justify
denying LTD benefits after that date.
       24.    Hartford reviewed the same information that was reviewed for STD
benefits, yet denied Plaintiff’s LTD application.
       25.    Hartford could not identify a medical test, examination finding, or symptom
that had changed to show that Plaintiff’s medical condition had improved, which is a
perfect example of Hartford’s biased decision making due to its financial conflict of
interest.




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                                MEDICAL EVIDENCE AND REVIEW

          26.     On January 15, 2019, Plaintiff had a prostate fusion biopsy, which a

January 20, 2019 pathology report revealed was positive for cancer.

          27.     Dr. Herbert Lepor is a board certified urologist who specializes in treating

prostate cancer at Smilow Comprehensive Prostate Cancer Center, which is part of

NYU Langone’s Perlmutter Cancer Center. His clinical practice is exclusively devoted

to surgical management of prostate cancer. He has treated over 5,000 patients for

prostate cancer. Dr. Lepor is at the forefront of prostate cancer research using image-

guided diagnostic techniques, such as MRI, to help determine the best treatment,

whether surveilling a slow-growing cancer, completely removing the prostate, or

destroying one malignant area in an outpatient procedure that has virtually no

treatment-related complications. Dr. Lepor regularly presents those innovations at

academic meetings throughout the United States and the world.

          28.     At the NYU School of Medicine, Dr. Lepor is Professor and the Martin

Spatz Chairman of the Department of Urology; Professor of the Department of

Biochemistry and Molecular Pharmacology; and the Urologist in Chief at Tisch Hospital.

He received his medical degree from Johns Hopkins University, and completed his

surgery and urology residency at Johns Hopkins Hospital. He also serves as Chairman

of Scientific Advisory Board at UroGen Pharmaceuticals, Ltd., and as a Member of

Medical Advisory Board at Skyline Medical Inc. He has served on the editorial boards of

four major urological journals. Dr. Lepor has been published over 400 times,1 including




1
    http://library.med.nyu.edu/api/publications/?person=leporh01&sort=display_rank&in-biosketch=true


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over 300 peer review articles,2 book chapters, and books, all related to prostate cancer

and related matters.

          29.     Dr. Lepor has repeatedly received the Compassionate Doctor Award, the

Compassionate Doctor Recognition, Patient’s Choice Award, Top 10 City Doctor Award,

and Castle Connolly Top Doctor Award. In 1995, he won the Gold Cystoscope Award

from The American Urological Association.

          30.     Dr. Lepor is a member of the American Association of Genitourinary

Surgeons, Clinical Society of the American Association of Genitourinary Surgeons, the

American Surgical Association, and the Johns Hopkins University Society of Scholars.

          31.     On February 6, 2019, Plaintiff went to see Dr. Lepor for a second opinion

regarding the prostate cancer. Dr. Lepor discussed four options: active surveillance

(“AS”), radical prostatectomy (“RP”), radiation therapy (“RT”) and focal ablation (“FA”).

Dr. Lepor concluded the cancer was too advanced for AS. Because Plaintiff was highly

motivated to avoid any potential side effects of treatment, and to maintain his quality of

life, Dr. Lepor suggested FA, even though it posed a greater risk that the cancer could

spread compared to RP and RT.

          32.     On February 12, 2019, Plaintiff went to see Dr. Hina Qureshi, who is board

certified in Family Medicine, to follow up for prostate cancer and depression. Plaintiff

started treating with Dr. Qureshi on May 19, 2015. She noted Plaintiff cried during the

exam. His other problems were back pain from lumbar disc degeneration, epicondylitis,

obesity, and anxiety, including panic attacks, and she prescribed Xanax. Dr. Qureshi

advised Plaintiff to seek treatment from a mental health professional. Dr. Qureshi’s

attending physician’s statement (“APS”) from that date stated that Plaintiff was unable to

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    https://www.practiceupdate.com/author/herbert-lepor/535

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return to work, and would have difficulty performing work duties due to urinary

symptoms and mental illness. The APS identified pathology reports and lab tests as the

relevant objective test evidence.

          33.     Plaintiff went to Dr. Qureshi on March 14, 2019, to get preoperative

clearance for Dr. Lepor to perform FA of Plaintiff’s prostate. Plaintiff’s medications were

Xanax, Valium, and Metoprolol and Rosuvastatin, and Dr. Qureshi discussed Plaintiff’s

abnormal EKG.

          34.     Dana Costanzo is Dr. Lepor’s Nurse Practitioner. She examined Plaintiff

on March 19, 2019, in preparation for his prostate surgery with Dr. Lepor. NP Costanzo

noted Plaintiff would see his cardiologist on March 25, 2019.

          35.     Dr. Lepor performed the FA and cystoscopy on April 1, 2019. Plaintiff had

ipsilateral GGG2 prostate cancer.

          36.     Dr. Qureshi examined Plaintiff on May 6, 2019, for more medication for

depression. She noted Plaintiff had gained even more weight, and noted that he had

abnormal EKG and stress tests. She also diagnosed Plaintiff with vitamin D deficiency,

which can lead to cancer.3

          37.     On July 9, 2019, Dr. Lepor examined Plaintiff for a three month follow up

after his surgery. Dr. Lepor noted Plaintiff was having urgency incontinence. Dr. Lepor

prescribed Mirabegron, whose brand name is Myrbetriq. Myrbetriq is prescribed to help

loss of bladder control, need to urinate right away and often.4

          38.     Plaintiff went to see Dr. Qureshi for anxiety on July 11, 2019. Dr. Qureshi

reported that for the last month, Plaintiff had been feeling dizzy, felt like the room was


3
    https://www.webmd.com/diet/guide/vitamin-d-deficiency#1
4
    https://www.mayoclinic.org/drugs-supplements/mirabegron-oral-route/side-effects/drg-20075675?p=1


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spinning, and was having urinary urgency and frequency. Dr. Qureshi added

Escitalopram Oxalate, which is used to treat anxiety and depression,5 and Metformin,6

which is used to treat Type 2 diabetes, Alprazolam, Metoprolol, Mybetriq, and

Rosuvastatin.

        39.     Dr. Qureshi completed an APS on July 22, 2019, and concluded that

Plaintiff would have difficulty performing any work duties due to urinary symptoms,

major depressive disorder, anxiety, panic attacks, vertigo and dizziness.

        40.     Plaintiff went to see Dr. Lawrence Robinson, a board certified neurologist,

about the vertigo, on July 29, 2019. The likely diagnosis was positional vertigo.

        41.     On August 23, 2019, Hartford contended that Plaintiff’s occupation was

sedentary, highly complex, high paying, and there was a low likelihood that Plaintiff is

qualified to perform any occupation other than his own.

        42.     Plaintiff went to see Dr. Qureshi on September 24, 2019, for stress and

urinary urgency and frequency.

        43.     On September 3, 2019, Plaintiff advised Hartford that he was no longer

employed with the Employer. Therefore, since Plaintiff was approaching the maximum

duration of his STD benefit claim, Hartford sent Plaintiff an application for LTD benefits.7

        44.      On September 11, 2019, Plaintiff averred that he was seeking LTD

benefits because he was unable to stay in the operating room for extended periods of

time due to urinary frequency and urgency, lack of concentration, and fatigue. During a


5
   Its side effects include trouble sleeping, drowsiness, dizziness, and tiredness.
https://www.webmd.com/drugs/2/drug-63989/escitalopram-oxalate-oral/details
6
  Its side effects include gastric upset andweakness. https://www.webmd.com/drugs/2/drug-11285-
7061/metformin-oral/metformin-oral/details
7
  While Hartford had access to Plaintiff’s STD claim process, it did not provide a complete copy of the
STD claim review process to Plaintiff.


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phone call, Plaintiff also advised Hartford that he stopped work primarily due to the

prostate cancer, and that after a second biopsy graded the cancer higher, he underwent

focal cryotherapy. Plaintiff stated he could not return to work because his urinary

frequency and urgency required bathroom access no less than once an hour, and he

could no longer remain in the operating room when necessary. He added that

medication had not helped the problem. Plaintiff also advised Hartford that he started

treating with Margurite Weisberg, a psychotherapist, for his emotional problems in

addition to taking Xanax and Lexipro.8

        45.      Dr. Qureshi examined Plaintiff on September 24, 2019, for urinary

frequency and urgency, and anxiety. Plaintiff’s medical problems and medications had

remained unabated. Dr. Qureshi sent Hartford an APS on September 27, 2019,9 which

may also have been completed on September 24, 2019. Among other things, Dr.

Qureshi stated that the treatment plan was to continue selective serotonin reuptake

inhibitor therapy, psychotherapy, treating with Dr. Lepor, and seeing a cardiologist about

dizziness.

        46.      Ms. Weisberg completed an APS on October 2, 2019. The diagnoses

were anxiety disorder and agoraphobia. The response for self reported symptoms was

depression, anxiety and lack of sleep. Plaintiff’s mental status exam findings were

depressed and anxious mood, and only fair insight into his illness. Ms. Weisberg

concluded that Plaintiff’s symptoms were severe enough to preclude occupational

functioning; specifically, that prostate issues prevent Plaintiff from taking part in the


8
 Side effects of Lexipro, which is prescribed for depression and anxiety, include trouble sleeping,
tiredness, drowsiness, and dizziness. https://www.webmd.com/drugs/2/drug-63990/lexapro-oral/details.
During the call, Plaintiff told Hartford that additional barriers to work were his emotional issues and trouble
sleeping.


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operating room with doctors, and his anxiety and agoraphobia. Ms. Weisberg added

that Plaintiff had no work ability at the time, and that it was unknown when he could be

expected to resume working. She noted that Dr. Qureshi was prescribing Lexapro.

           47.     On October 21, 2019, Hartford’s Peter Carleton, a psychotherapist from

Maine, determined that Plaintiff’s LTD claim was not supported. Carleton

predetermined that his review would reject Plaintiff’s claim by stating Plaintiff’s

occupation required him to conduct sales calls, follow up on leads, sell products in an

assigned territory, while omitting the occupation’s primary requirement - that he remain

in the operating room during surgery.

           48.     The rationale for Carleton’s decision completely evaded that Plaintiff’s

presence was required in the operating room during surgery. Carleton noted that

Plaintiff’s STD benefits were exhausted based on prostate cancer. However, Carleton

claimed that Plaintiff’s exam findings did not detail functional impairments; that

Weisberg had only treated Plaintiff a few times; and that Plaintiff was not treating with a

psychiatrist. Carleton also said he did not have Weisberg’s psychotherapy notes.

           49.     Dr. Qureshi never stated that treating with a psychotherapist was

inadequate. Ms. Weisberg never stated that Plaintiff needed to see a psychiatrist

because Dr. Qureshi was prescribing Lexapro and Xanax. The LTD Plan has no

requirement that a claimant treat emotional problems with a psychiatrist. Carleton failed

to explain why Plaintiff’s prostate cancer, which was why he qualified and exhausted

STD benefits, did not qualify him for LTD benefits.

           50.     Carleton knew not to expect psychotherapy notes because they are

protected from disclosure by HIPAA. More importantly, while the LTD Plan mentions

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    Plaintiff requested a copy of the entire APS, but Hartford refused to provide it.

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mental examinations as an example of proof of loss that a claimant may submit, the

only proof of loss that the LTD Plan can insist upon is an interview or exam with a

representative, medical or vocational source of the LTD Plan’s choosing.

          51.   Most importantly, after noting that Plaintiff’s STD benefits were exhausted

based on prostate cancer, Carleton said that Plaintiff’s projected return to work date

was August 27, 2019. Carleton made absolutely no attempt to explain what had

changed, let alone improved, in order to show that Plaintiff had recovered the ability to

resume working at his occupation.

          52.   Hartford had Gloria Hoehne, a registered nurse, rubber stamp the

Carleton review. Hoehne’s entire analysis was a single conclusory, boilerplate,

sentence: “The information on file at this time does not identify/evidence a functional

limitation that would preclude claimant from performing his full time pre-disability

physical/work activities from a physical perspective as of LTD CED ongoing.”



                                   THE DENIAL LETTER

          53.   On October 24, 2019, accepting what Carleton and Hoehne wrote, and

rejecting what Dr. Qureshi, Dr. Lepor and Ms. Weisberg concluded, Hartford’s Kristin

Andrews decided that Plaintiff’s LTD claim should be denied. The following day,

Hartford’s claim manager, Amy Lamb, gave Andrews permission to proceed with the

denial.

          54.   The letter that Andrews sent Plaintiff on October 25, 2019, was three

pages (the “Denial Letter”), and provided very little information. The entire third page




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were a description of appeal procedures. Part of the first and the entire second page,

were quotes from Hartford’s certificate of insurance (the “Certificate”).

       55.    The entire explanation that the Denial Letter gave for saying Plaintiff was

no longer disabled by his prostate impairment was: “While we acknowledge that you

continue to have issue with frequency and urgency, on Myrbetriq, however no other

treatment has been documented.”

       56.    Hartford admitted that Plaintiff’s urinary frequency remained unchanged.

Hartford admitted that Plaintiff’s urinary urgency remained unchanged. Hartford

reported that the medication had not helped with the frequency or urgency. No other

treatment was documented because no other treatment was available. Dr. Lepor could

not offer any other treatment. Hartford never offered any explanation as to how Plaintiff

could perform the essential duty of remaining in the operating room when necessary.

       57.    When Plaintiff asked Hartford to identify what other possible treatment it

contended could possibly be expected for Plaintiff’s urinary urgency and frequency,

Hartford refused to answer. Hartford’s refusal to engage in a “meaningful dialogue,”

violated ERISA’s requirement that an administrator inform Plaintiff as a plan participant

of the information it sought. That failure to provide for a reasonable claims process

provides a third ground for applying a de novo standard of review.

       58.    The entire explanation that the Denial Letter gave for saying Plaintiff was

not disabled by his anxiety and depression also consisted of a single sentence: “While

it was documented you suffer from anxiety, depression with concentration problems and

agoraphobia, the medical information is insufficient to determine a level of impairment.”

As an initial matter, Plaintiff’s concentration problems were also due, if not primarily due,




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to his concern about always needing bathroom access. More importantly, Dr. Weisberg

completed Hartford’s APS form at Hartford’s request, and she specified that Plaintiff’s

problems were severe enough to preclude him from working.

       59.    The Denial Letter made a boilerplate assertion that Hartford needed

additional information, which failed to provide any guidance, but simply made a vague

request for additional information. Once again, the Denial Letter’s failure to provide any

“meaningful dialogue” about how Plaintiff could perfect his claim violated ERISA’s

requirement for a reasonable claim review process.

       60.    The Denial Letter stated that Hartford needed updated progress notes to

understand Plaintiff’s treatment plan. However, Hartford’s APS form specifically asked

for Plaintiff’s treatment plan, and Dr. Qureshi had provided it to Hartford less than a

month earlier.

       61.    Hartford had Dr. Lepor’s medical records from February, March, April, and

July 2019. Hartford also already had Dr. Qureshi’s progress notes from February,

March, May, July and September 2019, just one month before the Hartford decided to

deny Plaintiff’s LTD application. That is concrete proof that Hartford’s claim that it

needed updated progress notes after April 1, 2019, was wholly specious, and merely a

manifestation of Andrews inserting a boilerplate provision from Hartford’s denial letter

template.

       62.    The Denial Letter stated that Hartford needed pharmacy records, but

Hartford already knew what medications had been prescribed for Plaintiff.

       63.    The Denial Letter stated that Hartford needed diagnostic testing, but

Hartford already had the PSA and biopsy operative reports concerning Plaintiff’s




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prostate cancer, and Hartford knows that diagnostic testing does not exist for anxiety

and depression. Moreover, the LTD Plan contains no requirement that particular tests

be performed. Barbu v. Life Ins. Co. of America, 35 F.Supp.3d 274, 278, 294 (E.D.N.Y.

2014)(rejecting insurer’s insistence for testing as an attempt to impose “an extra-policy

requirement.”)

      64.    Dr. Qureshi provided another APS on October 28, 2019. The diagnoses

were major depression, anxiety, prostate cancer, and vertigo. Symptoms were

anxiousness, feeling depressed, urinary frequency and urgency, vertigo and difficulty

concentrating. Test results were the prostate bioposy pathologies that revealed

adenocarcimona, and a March 14, 2019 PSA. The treatment plan was to continue

selective serotonin reuptake inhibitor therapy, psychotherapy, and treating with Dr.

Lepor and James Albanese, a cardiologist. Dr. Qureshi specified that Plaintiff was

“unable to work due to urinary symptoms, vertigo, dizziness, mental illness.” Dr.

Qureshi concluded that Plaintiff should never bend, kneel, crouch, climb, lift any amount

of weight for up to a third of the day, or use the upper extremity more than occasionally.

Dr. Qureshi repeated that Plaintiff’s condition had not changed, and it was unknown

when his restrictions and limitations would end.

      65.    Carleton reviewed Dr. Qureshi’s APS on October 30, 2019. Carleton

claimed that Plaintiff seeing Weisberg and Qureshi monthly showed Plaintiff’s anxiety

and depression were not severe. Carleton never identified any source, let alone a

reliable one, who indicated monthly treatment was insufficient to treat severe

depression or anxiety. Carleton also claimed that because Plaintiff was not seeing a

psychiatrist or psychologist, it showed Plaintiff’s anxiety and depression were not




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severe. Carleton never identified any source, let alone a reliable one, that indicated

seeing a psychiatrist or psychologist is needed to show Plaintiff’s anxiety and

depression were severe.

       66.    Carleton claimed that Ms. Wesiberg could not support Plaintiff’s claim

because she was not a psychologist or psychiatrist, yet Carleton claimed that he could

reject Plaintiff’s claim even though Carleton was not a psychologist or psychiatrist.

       67.    Carleton claimed that Plaintiff’s anxiety symptoms did not show severe

and persistent functional impairments, yet every report from Plaintiff’s medical

professionals stated the opposite, and Carleton never identified a single piece of

medical evidence to the contrary. Nor did Carleton identify any medical finding, test, or

symptom, which indicated Plaintiff’s anxiety had changed or improved. Once again,

Hoehne parroted, nearly verbatim, what Carleton wrote.

       68.    Andrews sent Plaintiff a letter dated November 11, 2019, stating that Dr.

Qureshi’s latest APS had not changed Hartford’s position. Andrews also said that Dr.

Qureshi’s office notes from September 24, 2019, did not document any abnormal

physical exam findings or focal deficits. To the contrary, Dr. Qureshi’s notes from that

date stated that Plaintiff had urinary frequency and urgency, anxiety, stress, back pain,

epicondylitis, dizziness, and prediabetes with obesity and high cholesterol.

       69.    On November 12, 2019, Ms. Weisberg prepared a narrative report stating

that she was treating Plaintiff because he was agoraphobic, anxious, and extremely

depressed, which resulted in panic attacks and difficulty concentrating. She noted that

Plaintiff’s having to care for his elderly sick parents, and both of his brothers’ suicides,




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contributed to Plaintiff’s symptoms. Ms. Weisberg unequivocally concluded that Plaintiff

“is totally disabled and is unable to perform the duties of his occupational demands.”

       70.    The November 12, 2019 letter was given to Carleton to review. He

reiterated what he said when he reviewed Dr. Qureshi’s APS on October 30, 2019.

Hartford also said there was no evidence to support Plaintiff’s inability to lift or carry 10

pounds, or stand, walk and sit on a full time basis. Whether Plaintiff could lift or carry 10

pounds is not relevant because his occupation was light, which requires lifting or

carrying up to 20 pounds. Furthermore, the issue is not whether Plaintiff could sit, stand

and walk, but whether he could remain in the operating room when needed during

surgery.

       71.    Andrews sent Plaintiff a letter dated December 5, 2019, stating that Dr.

Qureshi “sent in new records on October 28, 2019, November 14, 2019 and November

26, 2019.” While Dr. Qureshi faxed her APS to Hartford on October 28, 2019, she

never submitted any records on November 14, 2019 or November 26, 2019.

Nonetheless, Andrews claimed that Hartford reviewed all of that new information, and

could not approve the claim. The only references in the file that Hartford provided

Plaintiff relating to November 14, 2019 or November 26, 2019 were internal notes by

Hartford representatives about whether to refer Ms. Weisberg’s November 12, 2019

narrative report to a consultant.

       72.    Andrews’ letter dated December 5, 2019, also stated that Plaintiff’s

deadline to appeal was April 22, 2020.

       73.    On February 5, 2020, Andrews denied Plaintiff’s request for a 90 day

extension to prepare his appeal.




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       74.    On February 19, 2020, Plaintiff requested a 30 days extension beyond

April 22, 2020. Hartford never agreed, nor even provided Plaintiff with an answer.

Plaintiff filed his appeal on April 11, 2020.



                            PLAINTIFF’S APPEAL EVIDENCE

       75.    Plaintiff provided Dr. Lepor’s progress notes to date, including a five page

report from his examination on October 22, 2019. However, the purpose of progress

notes is to remind a doctor about what he might want to remember the next time he

sees a patient; not to serve as evidence for a legal proceeding. That is why Hartford

requires treating doctors to complete APS forms, because Hartford knows that progress

notes provide limited information.

       76.    Plaintiff provided Hartford with a report from Dr. Lepor, which summarized

his medical findings and opinions. He diagnosed Plaintiff with chronic urinary urgency

and frequency. Dr. Lepor specified that Plaintiff has those symptoms about “15 times

per day, which interferes with his ability to stay in the operating room for long periods at

a time,” and would need at least hourly 10 minute breaks when working. Dr. Lepor

reported that Plaintiff’s fatigue level is moderate, and referred him to a urinary specialist,

but that specialist did not help Plaintiff’s symptoms. Dr. Lepor concluded that Plaintiff’s

symptoms would interfere with Plaintiff’s concentration and attention frequently, would

render Plaintiff off task at least 21% of the time, and would result in Plaintiff missing at

least 3 days of work a month. Pads or protective briefs would not enable Plaintiff to

work in the operating room during surgery because he has urgency and frequency and




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not incontinence. Perhaps most importantly, Dr. Lepor stated that Plaintiff chose riskier

surgery in the hope of avoiding urinary symptoms.

       77.    Plaintiff provided Hartford with a report from Dr. Qureshi’s that

summarized her medical findings and opinions. She diagnosed Plaintiff with urinary

urgency/incontinence, and stated that he routinely sees a urologist for chronic urinary

urgency and frequency. Dr. Qureshi concluded that Plaintiff’s symptoms limited his

ability to concentrate, perform his work tasks, and perform his daily activities. Dr.

Qureshi rated Plaintiff’s exhaustion as severe, and said that exercise and lifting cause

his urinary incontinence. Dr. Qureshi averred that Plaintiff cannot work in an operating

room during surgery with pads or protective briefs. She explained that Plaintiff could not

perform his work and assist the surgeon because Plaintiff cannot delay bladder control,

and would need unscheduled and unpredictable breaks at least once an hour. Dr.

Qureshi concluded that Plaintiff’s symptoms would interfere with his concentration and

attention continuously, would render Plaintiff off task at least 21% of the time, and he

would miss work altogether. Perhaps most importantly, Dr. Qureshi stated that Plaintiff

chose riskier FA surgery in the hope of avoiding urinary symptoms.

       78.    Plaintiff also provided Dr. Qureshi’s office notes from December 11, 2019

through March 4, 2020. Dr. Qureshi’s latest office note stated that Plaintiff cannot work

due frequent urination with hesitancy and occasional incontinence.

       79.    Plaintiff provided Hartford with a report from Ms. Weisberg that

summarized her medical findings and opinions. She diagnosed Plaintiff with persistent

depressive disorder and generalized anxiety disorder, which she said prevents him from

being able to do full time work. She identified the objective clinical findings: significantly




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restricted, repetitive patterns of behavior, activities or interests; sleep disturbance;

diminished interest in almost all activities; feelings of guilt/worthlessness; appetite

disturbance with change in weight; difficulty thinking or concentrating; decreased

energy; muscle tension; depressed mood; restlessness; irritability; distractibility; easily

fatigued; panic attacks followed by a persistent concern or worry about additional panic

attacks or their consequences; and disproportionate fear or anxiety about using public

transportation and being in a crowd. Ms. Weisberg specified that Plaintiff lacked the

abilities to: work at a consistent pace; maintain attention and concentration; perform

work on schedule; sustain ordinary attendance and punctuality; ignore distractions;

make simple work related decisions; complete a normal workday without needing more

than the allotted number or length of rest breaks and an unreasonable number and

length of rest breaks.

       80.    Ms. Weisberg concluded that Plaintiff could not handle even low stress

work due to his anxiety and depression. Consistent with Dr. Lepor and Dr. Qureshi, Ms.

Weisberg concluded that Plaintiff’s medical impairments would render him off task at

least 21% of the time, and would result in him missing at least 3 days of work a month.

       81.    Plaintiff subjected himself to an independent medical examination, which

Jessica Powers, a psychologist, performed on March 2, 2020. Dr. Powers’ findings and

conclusions were consistent with those of Ms. Weisberg. Dr. Powers’ ultimate

conclusion was that Plaintiff:

       shows all symptoms of persistent depressive disorder (dysthymia) and
       generalized anxiety disorder, with panic attacks. He is not able to work at this
       time since he experiences severe impairment in sustained concentration and
       problem solving due to sleep deprivation, depressive symptoms and anxiety. At
       this time, his tolerance for stress is so low that returning to work would put him at
       risk of an episode of decompensation. Disproportionate anxiety is experienced



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      when he is in a crowded place and when he has to leave home. He is also
      unable to complete a normal workday due to the number of bathroom breaks he
      must take. His panic attacks and crying episodes are unpredictable at times and
      would interfere during a work day.

      82.    Plaintiff provided a letter from Vincent Omelio, who was Plaintiff’s boss at

the Employer. Mr. Omelio made clear that Plaintiff was terminated solely because of his

medical problems. Mr. Omelio said Plaintiff was a good employee, and performed all of

his job requirements without any issues. However, after his prostate cancer, Mr. Omelio

said Plaintiff became increasingly depressed, and following his prostate surgery he

began experiencing urinary urgency and frequency. Critically, Mr. Omelio explained

that the urgency and frequency was problematical because Plaintiff’s job required him to

be in the operating room for extended periods of time.

      83.    Plaintiff provided a letter from Dr. Vito Rizzo, who was one of Plaintiff’s

customers at the Employer. Dr. Rizzo stated that Plaintiff was required to have intimate

knowledge about the use and application of equipment and products that are essential

to the management of conditions and deformities of Dr. Rizzo’s patients. Most of Dr.

Rizzo’s patients require surgery, during which Plaintiff was an essential member of the

care team, and his attendance and active participation was needed. Importantly, Dr.

Rizzo maintained that many times surgery involved several hours of uninterrupted

operating time.

      84.    Dr. Rizzo specified that Plaintiff’s urinary urgency and frequency was

uncontrolled, forcing him to excuse himself from the operating room, which could occur

at a critical moment in the surgical procedure. As the surgeon responsible for

procedure success, Dr. Rizzo stated Plaintiff’s urinary urgency and frequency created

an unacceptable situation as this can cause procedure flow disruption and prolonged



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time under anesthesia. Consequently, Dr. Rizzo declared that as far as he was

concerned, Plaintiff was no longer capable of performing the requirements of his

position, and contended that he should be considered permanently disabled.

       85.    Plaintiff provided a letter from Derik Malia, who was one of Plaintiff’s co-

workers at the Employer. Mr. Malia stated that Plaintiff’s cancer and caused a

noticeable reduction in his attitude and enthusiasm at work. Significantly, Mr. Malia

pointed out that due to the side effects of Plaintiff’s condition, some doctors expressed

concern because Plaintiff needed to leave the operating room for repeated restroom

breaks. Mr. Malia explained that their job is to be a partner with physicians and

operating room staff during surgery, and they cannot be absent during critical parts of

procedures, which last between 2-6 hours.

       86.    Reflecting what Mr. Omelio stated, Mr. Malia also stated that Plaintiff was

let go from the Employer because he had to keep leaving the operating room. Mr. Malia

explained that because being in the operating room is 75% of the job, if you cannot be

present 100% of the time in the operating room, then you are of little use to the

Employer.

       87.    Plaintiff provided Hartford with a letter from his wife, Maria Grella, who has

the opportunity to observe Plaintiff more than anybody else. She noted how even trying

to enjoy a night at home watching a movie is difficult for Plaintiff because he is

constantly in need of using the bathroom, so they must continually pause the movie to

address the problem. Ms. Grella said that whereas Plaintiff used to be able to multitask

and excel at anything, he is now withdrawn and sad with a short attention span and has

difficulty concentrating. She also noted how Plaintiff either cannot fall asleep or sleeps




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too many hours.

       88.    Plaintiff submitted a vocational evaluation from Ruth Baruch, M.S., C.R.C.

Ms. Baruch ascertained that Plaintiff’s job was a composite one, consisting of tasks that

most closely matched two occupations in the Dictionary of Occupational Titles (“DOT”).

The first job is Sale Representative, Medical Equipment, DOT 276.257-010, which

occupation is generally performed as Light work, but Plaintiff’s job required that he

perform it at the more physically demanding medium level, and that occupation is skilled

work with an SVP of 6. The second job is biomedical Equipment Technician, DOT

019.261-010, which occupation is generally performed as Light work, but as noted

above, Plaintiff’s job required that he perform it at the medium level, and it is also skilled

work with an SVP of 6.

       89.    The DOT titles have not been updated since 1991. The U.S. Department

of Labor updated the DOT with O*Net, which describes Plaintiff’s position as Sales

Representatives Medical Code 41-4011-00.05. Plaintiff’s position is performed quite

differently than as described in the DOT. Ms. Baruch explained that surgical equipment

medical sales representatives are typically responsible for instructing the medical staff

in the proper use of the equipment, which requires that they be available to attend

surgical procedures on a regular and consistent basis. Additionally, they must be able

to multitask, be extremely detail orientated, be reliable, and able to handle stressful and

unpredictable situations.

       90.    Ms. Baruch concluded that Plaintiff would be unable to perform one or

more of the essential duties of his occupation. Given that Plaintiff’s symptoms were

uncontrollable and unpredictable in nature, Ms. Baruch determined that Plaintiff would




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not be able to attend to the required demands of a medical sales representative. He

would not be able to sustain the long hours in the operating room without leaving

numerous times over the course of a surgery to urinate. Additionally, changing his cap

and gown and peripheral wear would be extremely time consuming. Wearing a diaper

undergarment would create a stench, be unsterile, take additional time to change and

create embarrassment, which would compromise Plaintiff’s focus and attention. As

reported, when Plaintiff has to relieve himself, that is all he can think of until he reaches

his destination.

       91.    Plaintiff’s skilled position was highly detailed and demanding. Physician’s

relied on Plaintiff’s expertise. Surgical errors could occur if Plaintiff is not completely

focused in the operating room, which would be significantly problematic. Therefore, Ms.

Baruch opined that Plaintiff would not be able to perform and sustain his skilled

occupation because it was a position that required Reasoning, Mathematic, and

Language levels beyond his current capacity.

       92.    Ms. Baruch also concluded that Plaintiff’s inability to maintain attention

and focus due to symptoms of urinary urgency and frequency would prevent him from

being able to perform and sustain his skilled occupation because he would not be able

to maintain the pace and persistency that it requires. Ms. Baruch explained that it is

quite evident that Plaintiff lacked the stamina and quick response reaction time required

of a medical sales representative who is responsible for overseeing the proper use of

medical equipment in the operating room, which could potentially lead to life threatening

mistakes.




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       93.     Ms. Baruch also found that Plaintiff’s position required extensive travel, for

which he would often not have ready access to a bathroom. Ms. Baruch stated that

travel was also an essential duty of Plaintiff’s occupation that he could not perform.

       94.     Plaintiff’s extensive work history is objective proof that substantiates the

credibility of his complaints. Common sense dictates that anyone who works for as long

as Plaintiff did, especially when earning $100,000 annually, only stops working because

they can no longer continue to do so. “A claimant with a good work record is entitled to

substantial credibility when claiming an inability to work because of a disability.” Rivera

v. Schweiker, 717 F.2d 719, 725 (2d Cir.1983); Tarsia v. Astrue, 418 Fed.Appx. 16, 19

(2d Cir. 04/07/2011)(same).



                           PLAINTIFF’S CAUSE OF ACTION
                        FOR LONG TERM DISABILITY BENEFITS

       95.     Plaintiff repeats each and every allegation contained in paragraphs 1

through 94 as if set forth fully herein.

       96.     Fiduciaries are statutorily obligated to perform their duties prudently, solely

in the interest of plan participants and beneficiaries, and strictly in conformance with the

provisions of the plan. Fiduciaries also have a statutory obligation to interpret and

construe the terms of the plan fairly, and make decisions in accordance with plan

language.

       97.     Hartford has a financial conflict of interest arising from its dual role as an

ERISA plan administrator and payer of plan benefits, which caused Hartford to breach it

fiduciary obligations to Plaintiff.




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       98.    Hartford failed to render its decisions in accordance with the relevant

terms and definitions of the Policy.

       99.    Hartford’s decision to deny LTD benefits was not supported by substantial

evidence, did not comply with the Policy language, and was tainted by its conflict of

interest.

       100.   Hartford failed to use a reasonable claim process when reviewing

Plaintiff’s LTD application.

       101.   Plaintiff was and remains disabled within the terms and conditions of the

LTD Plan, and therefore, is entitled to receive monthly disability benefits from the

completion of the elimination period to the present.

       102.   As Plaintiff was and remains disabled within the terms and conditions of

the LTD Plan, Plaintiff is entitled to benefits after the elimination period to the present.

       103.   Plaintiff is entitled to continued benefits on a monthly basis as long as

there is no change in Plaintiff’s medical test, exam findings or symptoms that

demonstrate functional improvement.



WHEREFORE, Plaintiff respectfully requests this Court to:

       A.     Declare and determine that Plaintiff became disabled as of February 17,

              2020 under the LTD Plan, and continues to be disabled under it;

       B.     Clarify that Plaintiff will be entitled to future benefits under the LTD Plan

              absent evidence of a change in the medical evidence that shows a

              functional improvement;




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      C.    Order Hartford to compensate Plaintiff for his disability in accordance with

            the terms of the LTD Plan;

      D.    Award Plaintiff penalties pursuant to 29 U.S.C. § 1132(c)(1);

      E.    Award Plaintiff attorneys’ fees and costs pursuant to 29 U.S.C. § 1132(g);

            and

      F.    Grant Plaintiff such other necessary and proper relief, including

            prejudgment interest, costs and disbursements, as to which he may be

            entitled.

Dated: Jericho, NY
       May 27, 2020




                                                LAW OFFICES OF JEFFREY DELOTT


                                         By:    __________________________


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